Case 1:04-cr-10045-.]DT Document 27 Filed 05/03/05 Page 1 0f 6 Page|D 21

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\3 " ,
uNlTED sTATEs oF AMERch ’°
.v. 04-10045-01-1'

  

CLARENCE JONES, JR.
M. Dianne Smothers FPD
Defense Attorney
109 South High|and, Ste. B-8
Jackson, TN 38301

 

 

JUDGMENT lN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on January 23, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Title & Section MQ_M§ Concluded Numberlsi
18 U.S.C. § 922(9) Convicted Felon in Possession of a 01123/2004 1

Firearm

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentenclng Reform Act of 1984 and the lViandatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 10/05/1980 Apri| 29, 2005
Deft’s U.S. |Viarshai No.: 19916-076

Defendant’s iV|ai|ing Address:
290 Eng|ish Street
Boiivar, TN 38008

 

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wlm nunn ss auditor az(bj mch on 5 [Oic_ §§ §/ May_.g_, 2005

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Case No: 1:O4cr10045-01-T Defendant Name: Ciarence Jones, Jr. Page 2 of 5
|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 180 Months.

The Court recommends to the Bureau of Prisons: institution as close to West
Tennessee as possibie.

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

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Case No: 1:O4cr10045-01-T Defendant Name: Ciarence Jones, .ir. Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation ofncer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first Hve days of each month;

3. The defendant shall answer truthqu all inquiries by the probation officer and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used.
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofiicer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shaii permit
the probation ofticer to make such notifications and to confirm the defendant's compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T!ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate in a program of testing and treatment for drug abuse as
directed by the probation officer until such time as the defendant is released from the
program by the probation officer.

2. The defendant shall cooperate with the United States Probation Office in the collection of
DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

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The Specia| Assessment shall be due immediately
FlNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:04-CR-10045 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

J ames W. PoWeil

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

